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                  EXHIBIT A
Case Number: PC-2018-1441
Filed   in   Providence/Bristol County Superior Court
                        Case 1:18-cv-00212-JJM-LDA
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Reviewer: Alexa G.




                        STATE OF RHODE ISLAND                                                 SUPERIOR COURT
                        PROVIDENCE, SC.

                        ALTIMA JOHNSON, Individually
                         and   as Heir    and Natural Guardian         0f,
                         CARLTON JOHNSON
                        V.                                                                    C.A.   NO. PC 2018-1441

                        HORACE JOHNSON,
                        STATE ROAD AUTO SALES, INC.,
                        and ARBELLA MUTUAL INSURANCE
                        COMPANY, and JOHN DOE and/or JANE DOE



                                                                  AMENDED COMPLAINT

                                  NOW COMES THE PLAINTIFFS in the above-entitled matter who allege as follows:
                                                                             PARTIES

                                  Plaintiff,Altima Johnson,       is   a resident of the City of Providence, County of Providence
                                  and State 0f Rhode Island.

                                  Plaintiff,   Carlton Johnson,   is   a resident of the City of Providence,   County of Providence
                                  and State of Rhode    Island.


                                  Defendant, Horace Johnson, upon information and belief is a resident of City of Brocton,
                                  County of Plymouth, Commonwealth of Massachusetts.

                                  The Defendant, State Road Auto Sales, Inc. upon information and belief is an out of state
                                  Domestic Proﬁt Corporation with its principle place of business in the Town 0f
                                  Westport, County of Bristol, and Commonwealth of Massachusetts and has sufﬁcient
                                  contacts With the State of Rhode Island to establish jurisdiction.


                                  The Defendant, Arbella Mutual Insurance Company upon information and belief is
                                  corporation with its principle place of business located 1100 Crown Colony Drive in
                                  Quincy,      MA
                                               02269 and is doing sufﬁcient business and has sufﬁcient contact within the
                                  State of Rhode Island to satisfy an assertion ofjurisdiction.


                                  The Defendants, John Doe, Alias and/or Jane Doe, Alias whose                        identities   are
                                  presently      unknown but       expected     to   be   revealed   through   discovery   are    upon
                                  information and belief individuals With sufﬁcient contacts with the State of                   Rhode
                                  Island to satisfy jurisdiction.
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                               follows:
                                            Plaintiff
                                                                                w
                                                        hereby incorporates by reference paragraphs              1   through 6 and realleges as




                         7.       On or about December 17, 2017, the Plaintiff, Carlton Johnson was a passenger in a
                                  motor vehicle operated by Defendant, Horace Johnson while traveling along a public
                                  roadway in Providence, Rhode Island and at all times herein was in the exercise of
                                  sufﬁcient due care and caution s0 as t0 allow recovery in this matter.


                         8.       On or about December    17, 2017, Defendant, Horace Johnson was the operator 0f a motor
                                  vehicle, and did operate said vehicle in a negligent manner so as to cause a collision with
                                  a telephone pole, #90 at 0r about 771 Chalkstone Avenue in Providence Rhode Island
                                  With Plaintiff, Horace Johnson in the vehicle at the time of said crash.


                         9.       Defendant, failed to operate his vehicle in the exercise of due care losing control of his
                                  vehicle causing signiﬁcant injuries t0 Plaintiff/ passenger               who was      at all   times in the
                                  exercise of sufﬁcient due care and reasonableness.


                         10.      On or about December  17, 2017, Defendant, State Road Auto Sales, Inc. was the
                                           owner of a motor vehicle being negligently operated by Defendant, Horace
                                  registered
                                  Johnson upon and along Chalkstone Avenue, a public roadway in Providence, Rhode
                                  Island.


                         11.      That Defendant, Horace Johnson had implied 0r expressed consent to operate said vehicle
                                  owned by Co-Defendant,           State   Road Auto      Sales, Inc.


                         12.      On or about December          17,    2017, Defendant, Arbella Mutual Insurance                Company was      the
                                  liability                                                         owned by
                                              insurance carrier for the vehicle subj ect to the complaint and
                                  Defendant, StateRoad Auto Sales, Inc. which was negligently operated by Defendant,
                                  Horace Johnson upon and along Chalkstone Avenue, a public roadway, in Providence,
                                  Rhode Island.

                         13.      As    a direct and proximate result 0f the negligence of the Defendants, the Plaintiffs’
                                  sustained      severe    personal      injuries,   which continue         t0   date,    incurring     signiﬁcant
                                  hospitalization, medical treatment,           home   health care, rehabilitation, lost wages, loss of
                                  consortium, permeant injuries, as well as loss of earning capacity,                    all   proximately caused
                                  by the negligence of said Defendants, and other such damages caused by the Defendants.

                         14.      Damages      are sufﬁcient t0 confer jurisdiction         upon the Superior Court.

                                  WHEREFORE,              Plaintiffs    demand judgment           against   said      Defendants, jointly        and
                                  severally, plus interest, costs        and attorney's   fees.
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                         15.      The     Plaintiff,         Altima Johnson incorporate by reference Count I of this complaint and
                                  Paragraphs            1   through 14 as if fully set forth herein and further alleges as follows:


                         16.      As     a result of the severe and permanent injury sustained                         by     Plaintiff,   Carlton Johnson,
                                  in addition t0 the psychological and emotional impact that has caused to be incurred t0
                                  Plaintiff,which continues on an ongoing basis, said injuries have impacted Plaintiff,
                                  Altima Johnson forcing her t0 have to provide round the clock care and assistance to her
                                  son, causing Plaintiff, Altima Johnson to sustain loss of wages, mental and emotional
                                  inﬂiction ofdistress, loss 0f consortium beneﬁts, and other damages as a result of
                                  Defendants’ negligence.




                         17.
                                  WHEREFORE,




                                          Plaintiffs’

                                  Paragraphs            1
                                                              incorporate
                                                            through 16 as
                                                                                      w
                                                             Altima Johnson demands judgment against said Defendants,
                                                               Plaintiff,

                        jointly and severally, plus interest, costs and attorney's fees.




                                  The                                          by reference Count
                                                                              if fully set
                                                                                                           and Count II of this complaint and
                                                                                                             I

                                                                                             forth herein and further alleges as follows:


                         18.      The    Plaintiffs’ collectively allege against      Defendant, Arbella Mutual Insurance Company
                                  that    its    failure t0       respond t0 reasonable demands for policy limits of one hundred
                                  thousand dollars ($100,000.00) within a reasonable time, and under the circumstances of
                                  this case, knowing the severity of Plaintiffs’ injuries, and in complete disregard of

                                  Asermely         v.       Allstate Insurance      Company, 728 A.2d 41              (R.I. 1999) and DeMarco v.
                                   Travelers Ins.             C0.,   26A.3d 585 (2011) and              R.I.     Gen Law 27-7-22 and 2.1, to be
                                  addressed        at the appropriate           juncture of these proceedings.


                         19.      Plaintiffs’ further allege the              Defendant’s Violation and breach of M.G.L.c. 93(a); 176D
                                   §9(3)(a)(b)(f)(g)(k)(i)(m).


                                  WHEREFORE,                    Plaintiffs’    demand judgment               against   said    Defendants, jointly and
                         severally, plus interest, costs             and attorney's    fees.


                                                                                         Plaintiffs’,

                                                                                         By their Attorney,

                                                                                         /s/   Ronald   J.   Resmini

                                                                                         RONALD J. RESMINI, ESQ.                    (#0484)
                                                                                         155 South Main          Street, Suite    400
                                                                                         Providence, RI 02903
                                                                                         (401) 751-8855
                                                03/ 1 5/20 1 8
                        Dated:
